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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



  IN RE FOREIGN EXCHANGE                               No. 1:13-cv-07789-LGS
  BENCHMARK RATES ANTITRUST
  LITIGATION



     [PROPOSED] ORDER APPROVING THE SECOND DISTRIBUTION OF THE
        SETTLEMENT FUND AND DISTRIBUTION OF ATTORNEYS’ FEES

       WHEREAS, on March 8, 2019, this Court approved payment of an initial distribution of

$54,006,248.60 from the Settlement Fund (the “Initial Distribution”) (ECF No. 1230) to 26,937

Authorized Claims (“Initial Distribution Claims”);

       WHEREAS Plaintiffs, by and through their counsel, Scott+Scott Attorneys at Law LLP

and Hausfeld LLP (“Class Counsel”), have moved this Court for entry of this [Proposed] Order

Approving a Second Distribution of the Settlement Fund and Distribution of Attorneys’ Fees, and

the Court, having considered all materials and arguments submitted in support of the Motion,

including the Declaration of Loree Kovach (the “Kovach Declaration”), the Declaration of

Christopher Burke (the “Burke Declaration”), and the Memorandum of Law in Support of

Plaintiffs’ Motion for Entry of an Order Approving a Second Distribution of the Settlement Fund

and Distribution of Attorneys’ Fees (“Memorandum”) submitted therewith;

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      This Order incorporates by reference the definitions in the Stipulations and

Agreements of Settlement filed in this Action (ECF Nos. 481 (Ex. 1-9), 822 (Ex. 1-5), 877 (Ex. 1)

(the “Settlements”)), and all capitalized terms, unless otherwise defined herein, shall have the same

meanings as set forth in the Settlements or the Kovach Declaration.
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       2.     The Court has jurisdiction over the subject matter of the Action and over all parties

to the Action, including all Settlement Class Members.

       3.     Plaintiffs’ plan for the second distribution of the Settlement Fund to Authorized

Claimants is APPROVED. Accordingly,

              a.       The administrative recommendations of the Court-appointed Claims

       Administrator, Epiq Systems, Inc. (“Epiq”), to accept or accept in part the Authorized

       Claims set forth in Exhibits 1, 2, and 3 to the Kovach Declaration are approved.

              b.       Epiq shall conduct a “Second Distribution” of the Net Settlement Fund as

       follows:

                     i.       Authorized Claimants listed in Exhibit 1 to the Kovach Declaration

              shall be paid $15. These Authorized Claimants will receive no additional funds in

              any subsequent distributions.

                    ii.       Authorized Claimants listed in Exhibit 2 to the Kovach Declaration

              shall be paid $150. These Authorized Claimants will receive no additional funds

              in any subsequent distributions.

                   iii.       Authorized Claimants listed in Exhibit 3 to the Kovach Declaration

              shall be paid their respective pro rata shares, subject to a 40% holdback on all

              claims exceeding $150, which will be held in reserve (the “Reserve”) until the

              participation rate by volume and amount of the Net Settlement Fund are

              determined. The Reserve may also be used to address any contingencies that may

              arise after the distribution with respect to claims (including any appeals) and/or to

              pay for any Court-authorized future fees or expenses incurred in connection with

              administering the Settlements. To the extent the Reserve is not depleted, the




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               remainder will be distributed in a subsequent distribution(s) to Authorized

               Claimants receiving pro rata payments.

               c.      Epiq shall distribute payments to Authorized Claimants entitled to a de

       minimis payment ($15), automatic payment ($150), and a single pro rata payment below

       $1,000 (i.e., not part of a bulk submission or multiple payments going to a single filer) by

       check; Epiq shall distribute payments to Authorized Claimants entitled to pro rata

       payments of $1,000 or more in the form of check or wire. Authorized Claimants who

       provide deficient wire instructions shall receive a check.

               d.      In order to encourage Authorized Claimants to promptly deposit their

       distribution checks, and to avoid or reduce future expenses relating to unpaid distribution

       checks, all distribution checks will bear a notation “CASH PROMPTLY; VOID AND

       SUBJECT TO RE-DISTRIBUTION IF NOT NEGOTIATED BY [DATE 90 DAYS

       AFTER ISSUE DATE].”

               e.      Authorized Claimants who do not negotiate their funds within the time

       allotted will be presumed to forfeit any recovery for their respective Claim Forms from the

       Settlement Fund. Any forfeited recoveries will become available for re-distribution as part

       of subsequent distribution(s), and Authorized Claimants who do not negotiate their funds

       will not be eligible to participate in any subsequent distribution(s).

       4.      Class Counsel’s request to receive payment of the remainder of the Fee Award is

APPROVED. Class Counsel may allocate the Fee Award to fund incurred and ongoing time and

expenses and in a manner which Class Counsel, in good faith, believes reflects the contribution of

counsel to the institution, prosecution, and settlement of the Action.




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       5.      This Court retains jurisdiction to consider any further applications concerning the

administration of the Settlements, and such other further relief as this Court deems appropriate.

       IT IS SO ORDERED.



          November 29
DATED: __________________, 2021
      New York, New York


                                                     HON. LORNA G. SCHOFIELD
                                                     UNITED STATES DISTRICT JUDGE




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